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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

  In Re: TAXOTERE (DOCETAXEL)                                      MDL NO. 2740
         PRODUCTS LIABILITY
         LITIGATION
                                                                    SECTION “N” (5)
  THIS DOCUMENT RELATES TO:
  ALL CASES


                              PRETRIAL ORDER NO. 68
                (October 27, 2017 Conference of the Steering Committees)

      The Court held a Steering Committees conference of appointed counsel for Plaintiffs and

Defendants on October 27, 2017. As discussed during the conference, IT IS ORDERED that:

      1. On or before Thursday, November 2, 2017, Plaintiffs, through the Plaintiffs’ Steering

          Committee (“PSC”), shall submit via email to the Court the “Guidance Regarding

          Potential Sources of Electronically Stored Information” previously agreed to among

          the parties and distributed by the PSC to all Plaintiffs’ counsel.       On or before

          Thursday, November 2, 2017, the PSC and the Defendants shall each separately

          submit: 1) any proposed amendments to the “Guidance Regarding Potential Sources of

          Electronically Stored Information;” and/or 2) protocols or instructions that the parties

          believe will resolve the concerns raised by Defendants in the October 27, 2017 Steering

          Committees conference regarding Plaintiffs’ counsel’s Electronically Stored

          Information (“ESI”) obligations set forth in the Plaintiff Fact Sheet (Rec. Doc. 236-1).

      2. Defendants shall submit a revised proposed Order to Show Cause whereby the

          plaintiffs identified in Appendices C and D of Joint Report No. 5 (Rec. Doc. 839) that

          remain deficient as of October 27, 2017 are required to show cause why their case

          should not be dismissed with prejudice for failure to comply with Amended Pretrial




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     Order No. 22 (Rec. Doc. 325) in a written submission of no more than two pages

     double-spaced. Defendants are not required to submit a response unless otherwise

     ordered by the Court.

  3. Pursuant to the revised Plaintiff Fact Sheet (Rec. Doc. 236-1), each plaintiff shall

     produce representative photographs that have meaning and provide insight into her hair

     at times relevant to her case. This is best demonstrated with dated photos taken both

     before and after the Taxotere/docetaxel treatment. For clarity, “before” photographs

     shall be dated; should be portrait-type photographs taken closest in time to starting

     treatment; and, in any event, should be no earlier than five (5) years prior to infusion.

     The photographs should clearly depict the condition of the plaintiff’s hair. The plaintiff

     should not wear wigs, scarves, hats or any other accessories which conceal or cover her

     hair in the photograph. Notwithstanding the clarifications herein, which are intended

     to reduce disputes regarding the sufficiency of photographs, the Plaintiffs’ obligations

     as set forth and described in the PFS remain intact and are not altered by this Order.

  New Orleans, Louisiana, this 9th day of November, 2017.




                                         KURT D. ENGELHARDT
                                         UNITED STATES DISTRICT JUDGE




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